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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                         )
IN RE PHARMACEUTICAL INDUSTRY                            )   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION                       )   Civil Action No. 01-12257-PBS
                                                         )   Subcategory No. 03-10643-PBS
                                                         )
THIS DOCUMENT RELATES TO:                                )
                                                         )   Judge Patti B. Saris
The City of New York, et al. v. Abbott Laboratories,     )
Inc., et al.                                             )



     [PROPOSED] ORDER OF DISMISSAL OF PLAINTIFFS’ CLAIMS AGAINST
           DEFENDANTS THE JOHNSON & JOHNSON COMPANIES

       The Motion for Dismissal is hereby GRANTED. All Claims in this action against

Defendants Johnson & Johnson, Janssen Pharmaceutica Products, L.P., Ortho-McNeil

Pharmaceutical, Inc., Othro-Biotech Products, L.P., McNeil-PPC, Inc., ALZA Corporation,

Centocor, Inc., and Ethicon, Inc., and said defendants’ successor or affiliated companies,

including Janssen, L.P., Janssen, Inc., Johnson & Johnson Healthcare Systems, Inc., Centocor-

Ortho-Biotech, Inc., Ortho-Biotech, Inc., and Ortho-McNeil-Janssen Pharmaceuticals, Inc.

(collectively, the “Johnson & Johnson Companies”) are dismissed with prejudice and without

costs to any party.


       IT IS SO ORDERED

Dated: _______________, 2011



                                                       _____________________________
                                                       The Honorable Patti B. Saris
                                                       United States District Court Judge
